                       Case 3:05-cr-00024-WTM-BKE Document 275 Filed 02/28/19 Page 1 of 1
AO 247(Rev. 11/11) Order Regarding Motion lor Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)               Page 1 of 2(Page 2 Not for Public Disclosure)


                                              United States District Court
                                                                             for the

                                                              Southern      District of        Georgia
                                                                         Dublin Division
                            United States of America
                                         V.                                    )
                                                                               ) Case No:          32P5-cr;00024-6_
                             Marquis Cortez Wilson                             )
                                                                               ) USMNo: 13000-021
Date of Original Judgment:         Octo^r 27,^08 ^
Date of Previous Amended Judgment: Not Applicable ^ Charjes C. Butler _
(Use Dale ofLast Amended Jiit/gmenl ifAny)                                          Defendaiil's Allorney

                       ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                                  PURSUANT TO 18 U.S.C.§ 3582(c)(2)

              Upon motion of ^ the defendant □ the Director of the Bureau of Prisons □ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          E] DENIED. □ GRANTED and the defendant's previously imposed sentence of imprisonment ('or wy/ec/erf/«
the lastJudgmeni issiwd) of   _                months is reduced to                                      •
                                                     (Complete Parts I and II of Page 2 when motion is granted)
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 Except as otherwise provided, all provisions of the judgment dated October 27, 2008, shall remain In effect.
 IT IS SO ORDERED.


 Order Date:
                                                                                                            Judge's signali


                                                                            William T. Moore, Jr.
 Effective Date:                                                           Judge, U.S. District Court
                             /(/ different from order dale)                                             Printed name and title
